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                   1   COOLEY LLP                              COOLEY LLP
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                                                               Attorneys for Defendant
                   6   Attorneys for Defendant                 Events.com, Inc.
                       Events.com, Inc.
                   7
                   8                           UNITED STATES DISTRICT COURT
                   9                         SOUTHERN DISTRICT OF CALIFORNIA
               10
               11      SCANNING TECHNOLOGIES                         Case No. 3:21-CV-00360-ABJ-MDD
                       INNOVATIONS, LLC,
               12                                                    DEFENDANT EVENTS.COM,
                                         Plaintiff,                  INC.’S ANSWER TO
               13                                                    COMPLAINT
                              v.
               14
                       EVENTS.COM, INC.,
               15
                                         Defendant.
               16
               17
               18             Defendant Events.com, Inc. (“Events.com” or “Defendant”) hereby answers
               19      the Complaint for Patent Infringement (“Complaint”) of Plaintiff Scanning
               20      Technologies Innovations (“STI” or “Plaintiff”) as follows:
               21                                   PARTIES AND JURISDICTION
               22             1.     Events.com admits that the Complaint purports to state a cause of action
               23      for patent infringement under the Patent Laws of the United States, Title 35 of United
               24      States Code. Events.com denies all allegations of infringement and denies that STI
               25      is entitled to any relief.
               26             2.     Events.com admits that the Complaint purports to state a cause of action
               27      for patent infringement under the Patent Laws of the United States, Title 35 of United
               28      States Code and this Court has subject matter jurisdiction on that basis.
COOLEY LLP
ATTORNEYS AT LAW                                                                     EVENTS.COM’S ANSWER TO
   PALO ALTO                                                                                       COMPLAINT
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                   1          3.     Denied, because Events.com is without knowledge or information
                   2   sufficient to form a belief as to the truth of the averments.
                   3          4.     Admitted.
                   4          5.     Events.com admits that this Court has personal jurisdiction over
                   5   Events.com for this case only. Events.com denies all allegations of infringement.
                   6          6.     Events.com admits that it conducts business in this district. Events.com
                   7   denies all allegations of infringement.
                   8                                          VENUE
                   9          7.     Admitted.
               10                                            COUNT I
               11                                   ALLEGED INFRINGEMENT OF
               12                          UNITED STATES PATENT NO. 10,600,101
               13             8.     Events.com incorporates paragraphs 1 through 7 as if fully set forth
               14      herein.
               15             9.     Events.com admits that the Complaint purports to state a cause of action
               16      for patent infringement under the Patent Laws of the United States, Title 35 of United
               17      States Code. Events.com denies all allegations of infringement and denies that STI
               18      is entitled to any relief.
               19             10.    Denied, because Events.com is without knowledge or information
               20      sufficient to form a belief as to the truth of the averments.
               21             11.    Events.com admits that Exhibit A purports to be a copy of the ’101
               22      patent.
               23             12.    Denied.
               24             13.    Denied, because Events.com is without knowledge or information
               25      sufficient to form a belief as to the truth of the averments.
               26             14.    Denied, because Events.com is without knowledge or information
               27      sufficient to form a belief as to the truth of the averments.
               28             15.    Denied, because Events.com is without knowledge or information
COOLEY LLP
ATTORNEYS AT LAW                                                                       EVENTS.COM’S ANSWER TO
   PALO ALTO                                                      2                                  COMPLAINT
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                   1   sufficient to form a belief as to the truth of the averments.
                   2         16.    Denied, because Events.com is without knowledge or information
                   3   sufficient to form a belief as to the truth of the averments.
                   4         17.    Denied, because Events.com is without knowledge or information
                   5   sufficient to form a belief as to the truth of the averments.
                   6         18.    Denied, because Events.com is without knowledge or information
                   7   sufficient to form a belief as to the truth of the averments.
                   8         19.    Denied, because Events.com is without knowledge or information
                   9   sufficient to form a belief as to the truth of the averments.
               10            20.    Denied.
               11            21.    Denied.
               12            22.    The allegations contained in this paragraph contain legal conclusions to
               13      which no response is required. To the extent a response is required, denied, because
               14      Events.com is without knowledge or information sufficient to form a belief as to the
               15      truth of the averments.
               16            23.    The allegations contained in this paragraph contain legal conclusions to
               17      which no response is required. To the extent a response is required, denied, because
               18      Events.com is without knowledge or information sufficient to form a belief as to the
               19      truth of the averments.
               20            24.    The allegations contained in this paragraph contain legal conclusions to
               21      which no response is required. To the extent a response is required, denied, because
               22      Events.com is without knowledge or information sufficient to form a belief as to the
               23      truth of the averments.
               24            25.    The allegations contained in this paragraph contain legal conclusions to
               25      which no response is required. To the extent a response is required, denied, because
               26      Events.com is without knowledge or information sufficient to form a belief as to the
               27      truth of the averments.
               28            26.    The allegations contained in this paragraph contain legal conclusions to
COOLEY LLP
ATTORNEYS AT LAW                                                                       EVENTS.COM’S ANSWER TO
   PALO ALTO                                                      3                                  COMPLAINT
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                   1   which no response is required. To the extent a response is required, denied, because
                   2   Events.com is without knowledge or information sufficient to form a belief as to the
                   3   truth of the averments.
                   4         27.    The allegations contained in this paragraph contain legal conclusions to
                   5   which no response is required. To the extent a response is required, denied, because
                   6   Events.com is without knowledge or information sufficient to form a belief as to the
                   7   truth of the averments.
                   8         28.    The allegations contained in this paragraph contain legal conclusions to
                   9   which no response is required. To the extent a response is required, denied, because
               10      Events.com is without knowledge or information sufficient to form a belief as to the
               11      truth of the averments.
               12            29.    The allegations contained in this paragraph contain legal conclusions to
               13      which no response is required. To the extent a response is required, denied, because
               14      Events.com is without knowledge or information sufficient to form a belief as to the
               15      truth of the averments.
               16            30.    The allegations contained in this paragraph contain legal conclusions to
               17      which no response is required. To the extent a response is required, denied, because
               18      Events.com is without knowledge or information sufficient to form a belief as to the
               19      truth of the averments.
               20            31.    The allegations contained in this paragraph contain legal conclusions to
               21      which no response is required. To the extent a response is required, denied, because
               22      Events.com is without knowledge or information sufficient to form a belief as to the
               23      truth of the averments. Events.com denies that STI is entitled to injunctive relief.
               24            32.    The allegations contained in this paragraph contain legal conclusions to
               25      which no response is required. To the extent a response is require, denied, because
               26      Events.com is without knowledge or information sufficient to form a belief as to the
               27      truth of the averments. Events.com denies that STI is entitled to injunctive relief.
               28            33.    Denied, because Events.com is without knowledge or information
COOLEY LLP
ATTORNEYS AT LAW                                                                    EVENTS.COM’S ANSWER TO
   PALO ALTO                                                     4                                COMPLAINT
                                                                                       3:21-CV-00360-CAB-MDD
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                   1   sufficient to form a belief as to the truth of the averments.
                   2                         PLAINTIFF’S PRAYER FOR RELIEF
                   3         34.      To the extent any response is required to any paragraph of Plaintiff’s
                   4   Prayer for Relief: Denied.
                   5                              EVENTS.COM’S DEFENSES
                   6         Without assuming any burden that it would not otherwise have, and reserving
                   7   its right to amend its answer as additional information becomes available,
                   8   Events.com asserts the following defenses:
                   9                       FIRST DEFENSE: NON-INFRINGEMENT
               10            Events.com has not infringed and does not infringe, literally or under the
               11      doctrine of equivalents, directly or indirectly, any valid and enforceable claim of the
               12      ‘101 patent.
               13                              SECOND DEFENSE: INVALIDITY
               14            One or more claims of the ‘101 patents are invalid for failure to satisfy the
               15      conditions of patentability set forth in 35 U.S.C. §§ 101 et seq.
               16       THIRD DEFENSE: LACHES, ESTOPPEL, WAIVER, UNCLEAN HANDS
               17            STI is barred or limited from recovery in whole or in part by the doctrines of
               18      waiver, estoppel and/or unclean hands.
               19                       FOURTH DEFENSE: NO INJUNCTIVE RELIEF
               20            STI is not entitled to any injunctive relief as STI has, at a minimum, no
               21      irreparable injury, and an adequate remedy at law.
               22                      FIFTH DEFENSE: LIMITATION OF DAMAGES
               23            STI’s right to seek damages is limited by statute, including without limitation,
               24      by 35 U.S.C. §§ 286 and/or 287.
               25                                   ADDITIONAL DEFENSES
               26            Events.com reserves the right to assert additional defenses, including but not
               27      limited to inequitable conduct, after further investigation and discovery.
               28
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ATTORNEYS AT LAW                                                                       EVENTS.COM’S ANSWER TO
   PALO ALTO                                                      5                                  COMPLAINT
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                   1                          DEMAND FOR JURY TRIAL
                   2       Events.com hereby demands a trial by jury for all issues so triable.
                   3
                       Dated: May 17, 2021                        /s/ Benjamin Kleine
                   4                                              COOLEY LLP
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                   5                                              (rchen@cooley.com)
                                                                  LAM K. NGUYEN (265285)
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                   8                                              Facsimile: +1 650 849 7400
                   9                                              COOLEY LLP
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                                                                  Telephone: +1 415 693 2000
               12                                                 Facsimile: +1 415 693 2222
               13                                                 Attorneys for Defendant
               14                                                 Events.com, Inc.

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COOLEY LLP
ATTORNEYS AT LAW                                                                 EVENTS.COM’S ANSWER TO
   PALO ALTO                                                  6                                COMPLAINT
                                                                                    3:21-CV-00360-CAB-MDD
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                   1                             CERTIFICATE OF SERVICE
                   2          The undersigned certifies that counsel of record who are deemed to have
                   3   consented to electronic service are being served on May 17, 2021, with a copy of this
                   4   document via the Court’s CM/ECF system per Local Rules. Any other counsel will
                   5   be served by electronic mail, facsimile, overnight delivery and/or first class mail on
                   6   this date.
                   7                                          By: /s/ Benjamin Kleine
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COOLEY LLP
ATTORNEYS AT LAW                                                                   EVENTS.COM’S ANSWER TO
   PALO ALTO                                                     7                               COMPLAINT
                                                                                      3:21-CV-00360-CAB-MDD
